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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   VOLTERRA SEMICONDUCTOR LLC,

                                   Plaintiff,

          v.
                                                            C.A. No. 19-2240-CFC
   MONOLITHIC POWER SYSTEMS, INC.,

                                   Defendant.

           JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

          IT IS HEREBY STIPULATED by Plaintiff Volterra Semiconductor LLC (“Volterra”)

  and Defendant Monolithic Power Systems, Inc. (“MPS”), subject to the approval of the Court,

  that the following deadlines in the Scheduling Order (D.I. 69) are modified:

               1. The deadline for the parties to complete fact discovery, previously August 6, 2021

  (D.I. 69, ¶9(a)), is extended to September 7, 2021;

               2. The deadline for the parties to serve expert reports on issues a party bears the

  burden of proof, previously August 27, 2021 (D.I. 69, ¶19(a)), is extended to September 17,

  2021;

               3. The deadline for the parties to serve supplemental expert disclosures to contradict

  or rebut evidence on the same matter identified by the other party, previously September 24,

  2021 (D.I. 69, ¶19(a)), is extended to October 1, 2021;

               4. The deadline for the completion of expert discovery, previously October 29, 2021

  (D.I. 69, ¶19(a)), is changed to October 19, 2021;

               5. The deadline for the parties to file case dispositive motions, previously October

  19, 2021 (D.I. 69, ¶20(a)), is extended to October 26, 2021;
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             6. The deadline for the parties to file answering briefs on case dispositive motions,

  previously November 9, 2021 (D.I. 69, ¶20(a)), is extended to November 16, 2021.


  All other deadlines in the Scheduling Order (D.I. 69) remain unchanged.


   FISH & RICHARDSON P.C.                           SHAW KELLER LLP

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  Dated: July 20, 2021


                         SO ORDERED, this ___ day of ____________, 2021


                                                   _____________________________
                                                   Chief United States District Judge
